ee Phe fad OP APY GS

UNITES STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

xX
Debra Triolo
Plaintiffs
-against-
10 CV -2310
Penncro Associates, Inc.
Defendant
X

 

STIPULATION OF DISMISSAL

IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned,
the attorneys of record for all parties (the Defendant having not appeared), that whereas
no party hereto is an infant, incompetent person for whom a committee has been
appointed or conservatee and no person not a party has an interest in the subject matter of
the action, the above-entitled action be, and the same hereby is discontinued with
prejudice and without costs to either party. This stipulation may be filed without further

notice with the clerk of the Court.

 

S/ JOSEPH MAURO 7-9-10
Joseph Mauro, Esq. Date
Attorney for Plaintiff
SO ORDERED:

/4f soania SEYBERT

Joanna Seybert, USDJ
Dated: <fm 26, 20/9
Cantral Islip, NY

 

 

 

 
